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                             EXHIBIT F
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                                  KASOWITZ BENSON TORRES                   LLP

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                                                                           November 29, 2021
       REDACTED- PUBLIC VERSION



       VIA E-MAIL
       Robert Vrana
       Young Conaway Stargatt & Taylor, LLP
       Rodney Square, 1000 North King Street
       Wilmington, DE 19801
       RVrana@ycst.com

                   Re: Civ. Action No. 20-cv-1228-CFC-JLH (D. Del.) (Consolidated); Follow-Up Letter on
                      Defendant Xilinx’s Deficient Discovery Responses Dated October 18, 2021

       Counsel,

          We write to follow up on WSOU’s October 29, 2021 letter, the parties’ November 18, 2021
       meet and confer, and Xilinx’s November 19, 2021 letter, regarding Xilinx’s deficient responses
       and objections to WSOU’s discovery, as well as Xilinx’s failure to comply with the Court’s
       Scheduling Order (Dkt. 63) to produce core technical documents for each accused product.

           Xilinx attempts to put the cart before the horse and claims that WSOU must amend its
       preliminary infringement contentions in order for Xilinx to understand what it must produce. As
       explained, WSOU’s preliminary infringement contentions and Xilinx’s discovery deficiencies
       are distinct issues. Xilinx’s feigned ignorance does not explain its failure to produce responsive
       documents to the requests it does not find objectionable and understands, which Xilinx has had
       since September. Moreover, Xilinx has failed to produce core technical documents for each
       accused product, as further outlined below. In any event, to prevent further delay, WSOU
       further explains and narrows its requests as disussed at the meet and confer and in this letter.

           Xilinx’s discovery deficiencies can be split into the following categories: (i) WSOU’s
       document requests to which Xilinx refuses to produce responsive documents; (ii) WSOU’s
       document requests for which Xilinx represented that it would consider whether Xilinx will agree
       to produce responsive documents; (iii) WSOU’s interrogatories which Xilinx has agreed to
       supplement with substantive responses; and (iv) core technical documents that Xilinx has failed
       to produce. These issues are addressed further below.
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      I.      Xilinx’s Refusal To Produce Documents and Information

       Although WSOU’s discovery requests seek basic information concerning the Accused
   Products, Accused Functionalities, Related Products and Related Patents, e.g., documents
   concerning their functionality, source code, financials, sales and marketing data, based on the
   parties meet and confer, Xilinx has no intention of producing responsive relevant information for
   many WSOU’s discovery requests. Xilinx has contended that it has no obligation to produce
   responsive information concerning Accused Functionalities, Related Products, Related Patents,
   and essentially anything reasonably similar to the Accused Products. Xilinx has provided no
   adequate reason for this refusal.

        The definitions within the discovery requests, as well as the parties’ discussions during the
   meet and confer, make clear that these requests seek information relating to Xilinx’s products
   that employ the same and similar functionality of the identified products that is the subject of the
   Asserted Patents. Xilinx has and continues to ignore such definitions and explanations in favor
   of its improper litigation tactics.

       Additionally, WSOU has propounded numerous document requests that seek basic
   information concerning the Technical Documents. However, Xilinx has refused to agree to
   produce responsive documents. For example, Request For Production No. 4 seeks “documents,
   including Hardware Specifications and source code, sufficient to fully describe the functionality,
   operation, design, architecture, topology, and deployment of the Accused Products, Related
   Products, and products identified in Your response to Interrogatory No. 1.” Xilinx limits its
   production to cherry-picked “documents sufficient to show how the Accused Products work,”
   and has refused to produce additional documents.

      For each of these discovery requests (including, but not limited to, Request Nos. 2-5, 22, 34,
   and 35), the parties acknowledged during the meet and confer that they were at an impasse and
   would have to seek guidance from the Court. Please let us know if you have changed your
   position.

      II.     Requests Concerning Non-Technical Documents

        Xilinx continues to assert an improperly narrow read of its discovery obligations. For
   instance, during the meet and confer, Xilinx agreed only to produce documents sufficient to
   show its marketing of the Accused Products, specifically “accused features,” as well as
   marketing documents that are specifically directed to the features that are accused of
   infringement, to the extent specifically disclosed in WSOU’s infringement contentions. But, this
   is insufficient, and illogical as marketing materials specific to “accused features,” as opposed to
   the Accused Products, are not likely to exist.

      All categories of documents discussed during the meet and confer and included in WSOU’s
   requests are proportionate, reasonable and relevant. However, in the interest of resolving the
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   disputes, WSOU will narrow its requests to responsive documents, following a reasonable search
   of custodial data sources identified in Xilinx’s August 11, 2021 Initial Disclosures/Xilinx’s
   October 4, 2021 Paragraph 3 Disclosures (together the “Disclosures”), plus a few narrowed and
   appropriate data sources described below.

        The Disclosures identify custodians relevant to: (i) structure and operation of the accused
   functionality in the accused products; (ii) financial information relating to the accused products;
   (iii) alleged conception and reduction to practice, development, and prosecution of the Patents-
   in-Suit; and (iv) matters related to the subject matter, conception, reduction to practice,
   prosecution, marking, related patent application, and sales of products embodying the Patents-in-
   Suit; commercialization of the Patents-in-Suit; licensing efforts, agreements, and valuations
   relating to the Patents-in-Suit; and prior art to the Patents-in-Suit. These Disclosures are
   deficient insofar as they appear to omit custodians relevant to: (i) the research, development or
   production of internal business and marketing plans with respect to the Accused Products; (ii) the
   marketing, promoting, and/or advertising of the Accused Products; (iii) the actual and projected
   sales volume, transaction revenue, net revenue, gross revenue, and costs for the Accused
   Products; (iv) industry or consumer need for the Accused Products; (v) licensing policy or
   policies; and (vi) any product, hardware, software, application, or service that competes with any
   of the Accused Products. Please amend your disclosures accordingly to disclose if the identified
   individuals have this information, otherwise please include and search custodians who would
   have this highly relevant information. Please also provide any search terms used in responding
   to WSOU’s discovery requests.

       Additionally, Xilinx asserted that it lacked sufficient detail to search for and collect
   documents responsive to WSOU’s Requests for Production listed below by category. To further
   narrow and clarify the scope of WSOU’s requests, we provide specific categories and additional
   explanation that should be searched for from the relevant custodians:

          1. Financial documents including actual and projected sales, volume, transaction
             revenue, gross revenue, itemized costs, number of users, operating profitability,
             licensing revenue, indirect revenue streams, and damages theories (Request Nos. 7, 8,
             9, 10, 21, 32, 33);
          2. Business and marketing plans, projections reports and presentations, including
             promotions, advertising, projections, and awards/recognitions (Request Nos. 11, 16,
             17, 28);
          3. Documents relating to consumer or industry demand such as consumer requests,
             customer surveys and industry presentations relating to the Accused Products and
             Functionalities (Request Nos. 18, 19, 20);
          4. Licensing policies and licensing, royalty and other settlement and joint venture
             agreement documents, including any rates and payments (Request No. 12, 13, 14, 15,
             29);
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   the products each person worked on; (iii) as well as provide additional detail for those
   individuals previously identified.


      3. Interrogatory No. 3

       With respect to Interrogatory No. 3, we agreed to consult with WSOU’s technical experts
   who have reviewed source code to determine specific information that WSOU is seeking that is
   not already apparent from the source code computer and its source code files. We will follow up
   in due course with additional requests concerning this interrogatory as necessary.

      4. Interrogatory No. 4

       With respect to Interrogatory No. 4, Xilinx agreed to supplement its response to specifically
   identify responsive financial spreadsheets. Additionally, Xilinx agreed to confirm that the
   information provided dates back six years before the filing of the action.

      5. Interrogatory No. 5

       With respect to Interrogatory No. 5, Xilinx agreed to consider WSOU’s requests concerning
   dates of first development, and offers for sale. Please let us know if you will provide us this
   information.

      6. Interrogatory No. 8

      With respect to Interrogatory No. 8, Xilinx agreed to consider possible designation of
   30(b)(6) witnesses to testify for Xilinx on non-infringing alternatives. Please let us know your
   position.

      7. Interrogatory No. 10

      With respect to Interrogatory No. 10, Xilinx confirmed it will produce its invalidity
   contentions and associated prior art document production.

      IV.     Xilinx’s failure to comply with the Court’s Scheduling Order (Dkt. 63) to
              produce core technical documents for each accused product

       As Xilinx has been well aware, the Court’s Scheduling Order (Dkt. 63) requires that Xilinx
   produce core technical documents for each accused product by September 29, 2021. Yet, Xilinx
   has failed to comply with that requirement.
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                                                  Sincerely,

                                                  s/ Hershy Stern

                                                  Hershy Stern
